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UNITED STATES OF AMERICA CLFFV ‘ \ . w
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ORDER OF DISMISSAL

Upon motion of the United States, the charges in this matter are hereby dismissed.

lt is, therefore, ORDERED that this cause is D|SM|SSED.

Entered this 7 day of '14 J?JK.VNL

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This document entered on the docket she tin cwip|iance
with Ruie 55 and/or 32(5) FRCrP on ’C'_\

 

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This notice confirms a copy of the document docketed as number 11 in
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ENNESSEE

 

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Honorable Tu Pham
US DISTRICT COURT

